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                        Exhibit A
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                                                                               E-FILED
                                                                      THURSTON COUNTY, WA
 1                                                                       SUPERIOR COURT
 2                                                                     01/21/2021 9:05:32 AM
                                                                         Linda Myhre Enlow
 3                                                                      Thurston County Clerk
 4

 5

 6

 7
                                SUPERIOR COURT OF WASHINGTON
 8                               IN AND FOR THURSTON COUNTY
 9   R2B2 LLC D/B/A RUSSELL AND BODE DDS
10   PLLC, individually and on behalf of all others
     similarly situated,                                  No.    21-2-00091-34
11
                                            Plaintiff,    COMPLAINT—CLASS ACTION
12
            v.
13
     TRUCK INSURANCE EXCHANGE,
14
                                        Defendant.
15

16
                                       I.        INTRODUCTION
17
            Plaintiff R2B2 LLC d/b/a Russell and Bode DDS PLLC (“Plaintiff”), individually and on
18
     behalf of all other similarly situated members of the defined classes (the “Class Members”), by
19
     and through the undersigned attorneys, brings this class action against Defendant Truck Insurance
20

21   Exchange (“Truck” or “Defendant”) and alleges as follows based on personal knowledge and

22   information and belief:
23                                      II.       JURISDICTION
24
            1.      This Court has original jurisdiction pursuant to RCW 2.08.010 because the case
25
     originates in the state of Washington and the amount in controversy exceeds the jurisdictional
26
     threshold.


     COMPLAINT- 1                                                      KELLER ROHRBACK L.L.P.
                                                                          1201 Third Avenue, Suite 3200
                                                                             Seattle, W A 98101-3052
                                                                          TELEPHONE: (206) 623-1900
                                                                          FACS IMILE: (206) 623-3384
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 1             2.   This Court has personal jurisdiction over Defendant because Defendant is
 2   registered to do business in Washington, has sufficient minimum contacts with Washington, and
 3
     otherwise intentionally avails itself of the markets within Washington through its business
 4
     activities, such that the exercise of jurisdiction by this Court is proper pursuant to RCW
 5
     4.28.185. Moreover, the claims of Plaintiff and all of the Class Members arise out of and
 6

 7   directly relate to Defendant’s contacts with Washington.

 8                                           III.    PARTIES

 9             3.   Plaintiff R2B2 LLC d/b/a Russell and Bode DDS PLLC owns and operates a
10   family dental practice with its principal place of business at 2006 Caton Way SE, Olympia,
11
     Thurston County, Washington 98502.
12
               4.   Defendant Truck Insurance Exchange is an insurer with its principal office in
13
     Woodland Hills, California. Defendant is an insurance carrier authorized to write, sell, and issue
14

15   business insurance policies in Washington to policyholders, including Plaintiff.

16             5.   Defendant is vicariously liable for the acts and omissions of its employees and

17   agents.
18                                  IV.     NATURE OF THE CASE
19
               6.   This lawsuit is filed to ensure that Plaintiff and other similarly-situated
20
     policyholders receive the insurance benefits to which they are entitled and for which they paid.
21
               7.   Defendant issued one or more “all risk” insurance policies to Plaintiff, including
22

23   a Businessowners Special Property Coverage Form and related endorsements (“the Policy”),

24   insuring Plaintiff’s property and business practice at all relevant times, including the periods of

25   October 29, 2019 to October 29, 2020.
26



     COMPLAINT- 2                                                         KELLER ROHRBACK L.L.P.
                                                                              1201 Third Avenue, Suite 3200
                                                                                 Seattle, W A 98101-3052
                                                                             TELEPHONE: (206) 623-1900
                                                                             FACS IMILE: (206) 623-3384
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 1           8.      Defendant issued the Policy in Washington covering property situated in
 2   Washington.
 3
             9.      Plaintiff’s business property includes property owned and/or leased by Plaintiff
 4
     and used for general business purposes for the specific purpose of dental services and other
 5
     related business activities.
 6

 7           10.     Defendant’s Policy issued to Plaintiff is an “all-risk” policy that provides broad

 8   property and business interruption coverage except where excluded.

 9           11.     Defendant promises to pay Plaintiff for risks of “direct physical loss of or
10
     damage to” covered property.
11
             12.     The Policy includes coverage for risks of both damage to and loss of covered
12
     property.
13
             13.     Plaintiff paid all premiums for the coverage when due.
14

15           14.     Defendant’s Businessowners Special Property Coverage Form provides Plaintiff

16   with Business Income Coverage, Extended Business Income Coverage, Extra Expense
17   Coverage, and Civil Authority Coverage, with related endorsements.
18
             15.     On information and belief, Defendant issued materially identical policies
19
     concerning business interruption and other coverages to other policyholders in Washington
20
     covering property in the state of Washington for the relevant period.
21

22           16.     On or about January 2020, the United States of America saw its first cases of

23   persons infected by COVID-19, which has been designated a worldwide pandemic.

24           17.     COVID-19 is a highly contagious virus that rapidly and easily spreads; it
25   continues to spread across the United States including Washington State. In many infected
26
     persons, the virus causes severe illness and requires hospitalization, including intubation. The


     COMPLAINT- 3                                                        KELLER ROHRBACK L.L.P.
                                                                              1201 Third Avenue, Suite 3200
                                                                                 Seattle, W A 98101-3052
                                                                             TELEPHONE: (206) 623-1900
                                                                             FACS IMILE: (206) 623-3384
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 1   virus has killed over 386,000 people in the United States to date. Persons who survive the virus
 2   have experienced ongoing cognitive and physical impacts from the virus, even after the virus is
 3
     no longer actively detected in their bodies.
 4
             18.      The virus is a physical substance that spreads person to person through
 5
     respiratory droplets that reach another person and that are produced when an infected person
 6

 7   breathes, talks, coughs or sneezes. It also spreads when virus respiratory droplets are exhaled

 8   and aerosolized, and deposited on a surface or object (e.g., furniture, dentistry instruments,

 9   tables, door knobs, chairs, touch screens) and those objects are then touched by another person
10
     who then touches their own mouth, nose or eyes. COVID-19 is caused by a novel (new)
11
     coronavirus that has not previously been seen in humans.1
12
             19.      COVID-19 remains stable and transmittable in aerosols for up to three hours and
13
     up to two or three days on surfaces. Persons infected with COVID-19 can be asymptomatic yet
14

15   will still spread the virus. Guidance issued by the Centers for Disease Control and Prevention

16   (“CDC”) recommends avoiding indoor activities, adhering to strict sanitation protocols, and
17   maintaining social distance of at least six feet from others in order to minimize the spread of
18
     COVID-19.2
19
             20.      The CDC also recognizes that “dental settings have unique characteristics that
20
     warrant specific infection control considerations,” and that the most critical dental services must
21

22

23

24

25
     1
       See, e.g., Coronavirus (COVID-19): Frequently Asked Questions, CDC (updated Jan. 14, 2021),
26     https://www.cdc.gov/coronavirus/2019-ncov/faq.html.
     2
       See Coronavirus (COVID-19): Personal and Social Activities, CDC (updated Jan. 6, 2021),
       https://www.cdc.gov/coronavirus/2019-ncov/daily-life-coping/personal-social-activities.html.

     COMPLAINT- 4                                                                KELLER ROHRBACK L.L.P.
                                                                                     1201 Third Avenue, Suite 3200
                                                                                        Seattle, W A 98101-3052
                                                                                     TELEPHONE: (206) 623-1900
                                                                                     FACS IMILE: (206) 623-3384
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 1   be prioritized in a way that minimizes harm to patients from delaying care while minimizing
 2   harm to personnel and patients from potential exposure to COVID-19 infection.3
 3
             21.      The CDC reports that people can become infected with the COVID-19 virus
 4
     through airborne transmission, especially in enclosed spaces with inadequate ventilation, and
 5
     thus, people more than six feet apart can become infected by tiny droplets and particles that float
 6

 7   in the air for minutes and hours. The virus can spread this way and infect other persons even

 8   after the infected person has left the area.4

 9           22.      In March 2020, the American Dental Association (“ADA”) recommended that
10
     dental providers close their offices for all but emergency care.5 Upon expiration of that
11
     guideline in April 2020, the ADA recommended that dental providers keep their offices closed
12
     to all but urgent and emergency procedures.6
13
             23.      Public health data throughout the United States shows the rate of positive testing
14

15   by state and county, the numbers of persons by state who have been diagnosed with COVID-19,

16   the number of persons hospitalized due to COVID-19, the number of deaths from COVID-19,
17   and other related statistics.7
18

19
     3
       Coronavirus (COVID-19): Guidance for Dental Settings, CDC (updated Dec. 4, 2020),
20     https://www.cdc.gov/coronavirus/2019-ncov/hcp/dental-settings.html.
     4
       See Coronavirus (COVID-19): How COVID-19 Spreads, CDC (updated Oct. 28, 2020),
21     https://www.cdc.gov/coronavirus/2019-ncov/prevent-getting-sick/how-covid-spreads.html; see also Lena H. Sun
       & Ben Guarino, CDC Says Airborne Transmission Plays a Role in Coronavirus Spread in a Long-Awaited
22     Update After a Website Error Last Month, Wash. Post (Oct. 5, 2020), https://www.washingtonpost.com/health/
       2020/10/05/cdc-coronavirus-airborne-transmission/.
23   5
       ADA Calls Upon Dentists to Postpone Elective Procedures, ADA (Mar. 16, 2020), https://www.ada.org/en/press-
       room/news-releases/2020-archives/march/ada-calls-upon-dentists-to-postpone-elective-procedures.
24   6
       ADA Urges Dentists to Heed April 30 Interim Postponement Recommendation, Maintain Focus on Urgent and
       Emergency Dental Care Only, ADA (Apr. 1, 2020), https://www.ada.org/en/press-room/news-releases/2020-
25     archives/april/summary-of-ada-guidance-during-the-covid-19-crisis.
     7
       See, e.g., Coronavirus in the U.S.: Latest Map and Case Count, N.Y. Times (updated Jan. 15, 2021),
26     https://www.nytimes.com/interactive/2020/us/coronavirus-us-cases.html?action=click&module=Top%20
       Stories&pgtype=Homepage (reflecting COVID-19 statistics, on a state-by-state, county-by-county, and
       aggregated basis since March 2020).

     COMPLAINT- 5                                                               KELLER ROHRBACK L.L.P.
                                                                                    1201 Third Avenue, Suite 3200
                                                                                       Seattle, W A 98101-3052
                                                                                    TELEPHONE: (206) 623-1900
                                                                                    FACS IMILE: (206) 623-3384
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 1              24.   On March 11, 2020, Thurston County noted the first person in the County who
 2   had been infected with the coronavirus.8
 3
                25.   As of January 14, 2021, at least 288,127 persons in Washington State have tested
 4
     positive for COVID-19, 16,074 have been hospitalized, and 3,949 have died due to the COVID-
 5
     19 virus.9
 6

 7              26.   As of January 14, 2021, over 5,500 persons in Thurston County have tested

 8   positive for COVID-19, 325 have been hospitalized, and 59 have died due to the COVID-19

 9   virus.10
10
                27.   The presence of any COVID-19 aerosolized or suspended droplets or particles in
11
     the air or otherwise circulating in an indoor environment renders that physical space, or physical
12
     property, unsafe and unusable.
13
                28.   The presence of any COVID-19 aerosolized or suspended droplets or particles in
14

15   the air or otherwise circulating in an indoor environment causes direct physical damage to

16   property and direct physical loss of property.
17              29.   The presence of any COVID-19 droplets or particles on physical surfaces renders
18
     items of physical property unsafe and unusable.
19
                30.   The presence of any COVID-19 droplets or particles on physical surfaces causes
20
     direct physical damage to property and direct physical loss of property.
21

22

23

24

25   8
       Public Health Confirms Case of COVID-19 in Thurston County, Thurston County (Mar. 11, 2020),
        https://www.thurstoncountywa.gov/tchome/pages/newsreleasedetail.aspx?List-ID=2044.
26   9
       See supra note 7.
     10
        Thurston County COVID-19 Dashboard, Thurston County (Jan. 14, 2021), https://www.thurstoncountywa.gov/
        phss/Coronavirus/Pages/covid-19-dashboard.aspx.

     COMPLAINT- 6                                                             KELLER ROHRBACK L.L.P.
                                                                                  1201 Third Avenue, Suite 3200
                                                                                     Seattle, W A 98101-3052
                                                                                  TELEPHONE: (206) 623-1900
                                                                                  FACS IMILE: (206) 623-3384
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 1              31.      The presence of people infected with or carrying COVID-19 particles at premises
 2   renders the premises, including property located at that premises, unsafe and unusable, resulting
 3
     in direct physical damage and direct physical loss to the premises and property.
 4
                32.      Loss of functionality of property that has not been physically altered constitutes
 5
     direct physical loss of property and/or direct physical damage to property.
 6

 7              33.      On February 29, 2020, Washington Governor Jay Inslee issued Proclamation 20-

 8   5, declaring a State of Emergency for all counties in the state of Washington as the result of

 9   COVID-19.
10
                34.      Thereafter, Governor Inslee issued a series of certain proclamations and orders
11
     affecting many persons and businesses in Washington, whether infected with COVID-19 or not,
12
     requiring certain public health precautions.
13
                35.      On March 19, 2020, Governor Inslee issued Proclamation 20-24, “Restrictions on
14

15   Non Urgent Medical Procedures.” The proclamation provides, in part:

16              WHEREAS, the health care personal protective equipment supply chain in Washington
                State has been severely disrupted by the significant increased use of such equipment
17              worldwide, such that there are now critical shortages of this equipment for health care
                workers. To curtail the spread of the COVID-19 pandemic in Washington State and to
18
                protect our health care workers as they provide health care services, it is necessary to
19              immediately prohibit all hospitals, ambulatory surgery centers, and dental, orthodontic,
                and endodontic offices in Washington State from providing health care services,
20              procedures and surgeries that require personal protective equipment, which if delayed,
                are not anticipated to cause harm to the patient within the next three months[.]11
21
                36.      Proclamation 20-24 provides that one of the reasons it was issued was that “the
22

23   worldwide COVID-19 pandemic and its progression throughout Washington State continues to

24

25

26   11
          Proclamation 20-24 of Washington Gov. Jay Inslee, Restrictions on Non Urgent Medical Procedures at 1 (Mar.
          19, 2020), https://www.governor.wa.gov/sites/default/files/proclamations/20-24%20COVID-19%20non-
          urgent%20medical%20procedures%20%28tmp%29.pdf.

     COMPLAINT- 7                                                                  KELLER ROHRBACK L.L.P.
                                                                                       1201 Third Avenue, Suite 3200
                                                                                          Seattle, W A 98101-3052
                                                                                       TELEPHONE: (206) 623-1900
                                                                                       FACS IMILE: (206) 623-3384
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 1   threaten the life and health of our people as well as the economy of Washington State, and
 2   remains a public disaster affecting life, health, property or the public peace.”12
 3
                37.   On information and belief, Proclamation 20-24 refers to property damage
 4
     throughout Washington State, including in Thurston County where Plaintiff’s business is
 5
     located.
 6

 7              38.   By order of Governor Inslee, dentists including Plaintiff were prohibited from

 8   providing services but for urgent and emergency procedures.

 9              39.   On March 23, 2020, Mr. John Weisman, Secretary of Washington State’s
10
     Department of Health, issued a list of directives and orders regarding healthcare matters and
11
     mandated that all healthcare practitioners, including dental, cease all elective and non-urgent
12
     medical procedures and appointments as of the close of business on March 24, 2020, and
13
     throughout the duration of the catastrophic health emergency.
14

15              40.   On March 25, 2020, the Washington State Dental Association recommended that

16   all dental practices follow the mandates and orders of the Washington State’s Department of
17   Health and postpone all non-emergency or non-urgent dental procedures throughout the duration
18
     of the catastrophic health emergency.
19
                41.   On March 23, 2020, Governor Inslee issued Proclamation 20-25, “Stay Home –
20
     Stay Healthy.” The proclamation, which amends prior proclamations, requires that “[a]ll people
21

22   in Washington State [] immediately cease leaving their home or place of residence except: (1) to

23   conduct or participate in essential activities, and/or (2) for employment in essential business

24

25

26
     12
          Id.

     COMPLAINT- 8                                                         KELLER ROHRBACK L.L.P.
                                                                              1201 Third Avenue, Suite 3200
                                                                                 Seattle, W A 98101-3052
                                                                             TELEPHONE: (206) 623-1900
                                                                             FACS IMILE: (206) 623-3384
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 1   services.”13 The proclamation prohibits “all non-essential businesses in Washington State from
 2   conducting business, within the limitations provided herein.”14
 3
             42.     Governor Inslee’s proclamations and orders related to COVID-19 have been
 4
     extended and modified from time to time.
 5
             43.     Loss caused by COVID-19 and/or Governor Inslee’s orders and proclamations
 6

 7   rendered Plaintiff’s property unusable for its intended and insured purpose.

 8           44.     Plaintiff’s property has sustained direct physical loss and/or damages related to

 9   COVID-19 and/or the proclamations and orders.
10
             45.     Plaintiff’s property will continue to sustain direct physical loss or damage
11
     covered by the Truck policy or policies, including but not limited to business interruption, extra
12
     expense, extended business interruption, interruption by civil authority, and other expenses.
13
             46.     Plaintiff has been unable to use its physical property for its intended business
14

15   purposes.

16           47.     As a result of the above, Plaintiff has experienced and will experience loss
17   covered by the Truck policy or policies.
18
             48.     Plaintiff complied with all requirements in the Truck policy or policies.
19
             49.     No COVID-19 virus has been detected on Plaintiff’s business premises.
20
             50.     On or about March 23, 2020, Plaintiff submitted its claim to Truck for its loss.
21

22           51.     Without meaningful investigation, Truck denied Plaintiff’s claim by form letter

23   dated March 26, 2020.

24

25
     13
        Proclamation 20-25 of Washington Gov. Jay Inslee, Stay Home – Stay Healthy at 3 (Mar. 23, 2020),
26      https://www.governor.wa.gov/sites/default/files/proclamations/20-25%20Coronovirus%20Stay%20Safe-
        Stay%20Healthy%20%28tmp%29%20%28002%29.pdf.
     14
        Id. at 2.

     COMPLAINT- 9                                                             KELLER ROHRBACK L.L.P.
                                                                                  1201 Third Avenue, Suite 3200
                                                                                     Seattle, W A 98101-3052
                                                                                  TELEPHONE: (206) 623-1900
                                                                                  FACS IMILE: (206) 623-3384
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 1          52.     On information and belief, Truck has issued substantively identical denial letters
 2   to other Class Members in Washington for losses stemming from the proclamations and orders
 3
     of Governor Inslee.
 4
            53.     On information and belief, Truck intends to deny or has denied coverage for
 5
     other similarly situated members of the proposed classes.
 6

 7                             V.      CLASS ACTION ALLEGATIONS

 8          54.     This matter is brought by Plaintiff on behalf of itself and those similarly situated,

 9   under Washington Civil Rules 23(b)(1), 23(b)(2), and 23(b)(3).
10          55.     The Class Members that Plaintiff seeks to represent are defined as:
11
                    A.      Business Income Breach of Contract Class: Named insureds in the state
12
            of Washington issued a Truck policy with Business Income Coverage covering property
13
            situated in the state of Washington who suffered a suspension of their business at the
14

15          covered premises related to COVID-19 and/or orders issued by Governor Inslee, and/or

16          other civil authorities and whose Business Income Coverage claim was denied by Truck.

17                  B.      Business Income Declaratory Relief Class: Named insureds in the state
18          of Washington issued a Truck policy with Business Income Coverage covering property
19
            situated in the state of Washington who suffered a suspension of their business at the
20
            covered premises related to COVID-19 and/or orders issued by Governor Inslee, and/or
21
            other civil authorities.
22

23                  C.      Extended Business Income Breach of Contract Class: Named insureds

24          in the state of Washington issued a Truck policy with Extended Business Income

25          Coverage covering property situated in the state of Washington who suffered a
26
            suspension of their business at the covered premises related to COVID-19 and/or orders


     COMPLAINT- 10                                                       KELLER ROHRBACK L.L.P.
                                                                             1201 Third Avenue, Suite 3200
                                                                                Seattle, W A 98101-3052
                                                                             TELEPHONE: (206) 623-1900
                                                                             FACS IMILE: (206) 623-3384
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 1         issued by Governor Inslee, and/or other civil authorities and whose Extended Business
 2         Income Coverage claim was denied by Truck.
 3
                   D.      Extended Business Income Declaratory Relief Class: Named insureds in
 4
           the state of Washington issued a Truck policy with Extended Business Income Coverage
 5
           covering property situated in the state of Washington who suffered a suspension of their
 6

 7         business at the covered premises related to COVID-19 and/or orders issued by Governor

 8         Inslee, and/or other civil authorities.

 9                 E.      Extra Expense Breach of Contract Class: Named insureds in the state of
10
           Washington issued a Truck policy with Extra Expense Coverage covering property
11
           situated in the state of Washington who incurred expenses while seeking to minimize
12
           losses from the suspension of business at the covered premises in connection with
13
           COVID-19 and/or orders issued by Governor Inslee, and/or other civil authorities and
14

15         whose Extra Expense Coverage claim was denied by Truck.

16                 F.      Extra Expense Declaratory Relief Class: Named insureds in the state of
17         Washington issued a Truck policy with Extra Expense Coverage covering property
18
           situated in the state of Washington who incurred expenses while seeking to minimize
19
           losses from the suspension of their business at the covered premises in connection with
20
           COVID-19 and/or orders issued by Governor Inslee, and/or other civil authorities.
21

22                 G.      Civil Authority Breach of Contract Class: Named insureds in the state of

23         Washington issued a Truck policy with Civil Authority Coverage covering property

24         situated in the state of Washington who suffered a loss of business income and/or extra
25         expense related to the impact of COVID-19 and/or orders issued by Governor Inslee,
26



     COMPLAINT- 11                                                   KELLER ROHRBACK L.L.P.
                                                                         1201 Third Avenue, Suite 3200
                                                                            Seattle, W A 98101-3052
                                                                         TELEPHONE: (206) 623-1900
                                                                         FACS IMILE: (206) 623-3384
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 1          and/or other civil authorities and whose Civil Authority Coverage claim was denied by
 2          Truck.
 3
                     H.       Civil Authority Declaratory Relief Class: Named insureds in the state of
 4
            Washington issued a Truck policy with Civil Authority Coverage covering property
 5
            situated in the state of Washington who suffered a loss of business income and/or extra
 6

 7          expense related to the impact of COVID-19 and/or orders issued by Governor Inslee,

 8          and/or other civil authorities.

 9          56.      Excluded from the Classes are Defendant’s officers, directors, and employees;
10
     the judicial officers and associated court staff assigned to this case; and the immediate family
11
     members of such officers and staff.
12
            57.      Plaintiff reserves the right to amend the above-described Classes definition based
13
     on information obtained in discovery including Defendant’s internal records presently
14

15   unavailable to Plaintiff.

16          58.      This action may properly be maintained on behalf of each proposed Class under
17   the criteria of CR 23.
18
            59.      Numerosity: The Class Members are so numerous that joinder of all members
19
     would be impractical. Plaintiff is informed and believes that the proposed Classes, named
20
     insureds in the state of Washington issued policies by Truck covering property situated in the
21

22   state of Washington, contains hundreds of members. The precise number of class members can

23   be ascertained through discovery, which will include Defendant’s records of policyholders.

24          60.      Commonality and Predominance: Common questions of law and fact
25   predominate over any questions affecting only individual Class Members. Common questions
26
     include, but are not limited to, the following:


     COMPLAINT- 12                                                       KELLER ROHRBACK L.L.P.
                                                                            1201 Third Avenue, Suite 3200
                                                                               Seattle, W A 98101-3052
                                                                            TELEPHONE: (206) 623-1900
                                                                            FACS IMILE: (206) 623-3384
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 1                A.      Whether the Class Members suffered covered losses based on common
 2         policies issued in the state of Washington covering property situated in the state of
 3
           Washington by Truck to members of the Classes;
 4
                  B.      Whether Truck acted in a manner common to the Classes and wrongfully
 5
           denied claims for coverage relating to COVID-19 and/or orders issued by Governor
 6

 7         Inslee, other Governors, and/or other civil authorities;

 8                C.      Whether Business Income Coverage in Truck’s policies of insurance

 9         applies to a suspension of business relating to COVID-19 and/or orders issued by
10
           Governor Inslee, other Governors, and/or other civil authorities;
11
                  D.      Whether Extra Expense Coverage in Truck’s policies of insurance applies
12
           to efforts to minimize a loss relating to COVID-19 and/or orders issued by Governor
13
           Inslee, other Governors, and/or other civil authorities;
14

15                E.      Whether Civil Authority Coverage in Truck’s policies of insurance

16         applies to a suspension of business relating to COVID-19 and/or orders issued by
17         Governor Inslee, other Governors, and/or civil authorities;
18
                  F.      Whether Truck has breached its contracts of insurance through a blanket
19
           denial of all claims based on business interruption, income loss or closures related to
20
           COVID-19 and/or orders issued by Governor Inslee, other Governors, and/or other civil
21

22         authorities;

23                G.      Whether, because of Defendant’s conduct, Plaintiff and the Class

24         Members have suffered damages; and if so, the appropriate amount thereof; and
25

26



     COMPLAINT- 13                                                       KELLER ROHRBACK L.L.P.
                                                                           1201 Third Avenue, Suite 3200
                                                                              Seattle, W A 98101-3052
                                                                           TELEPHONE: (206) 623-1900
                                                                           FACS IMILE: (206) 623-3384
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 1                     H.     Whether, because of Defendant’s conduct, Plaintiff and the Class
 2           Members are entitled to equitable and declaratory relief, and if so, the nature of such
 3
             relief.
 4
             61.       Typicality: Plaintiff’s claims are typical of the claims of the members of the
 5
     classes. Plaintiff and all Class Members of the classes have been injured by the same wrongful
 6

 7   practices of Truck, which issued policies to named insureds in the state of Washington covering

 8   property situated in the state of Washington. Plaintiff’s claims arise from the same practices and

 9   course of conduct that give rise to the claims of the Class Members and are based on the same
10
     legal theories.
11
             62.       Adequacy: Plaintiff will fully and adequately assert and protect the interests of
12
     the classes and has retained class counsel who are experienced and qualified in prosecuting class
13
     actions. Neither Plaintiff nor its attorneys have any interests contrary to or in conflict with the
14

15   Classes.

16           63.       CR 23(b)(1), the Risk of Inconsistent or Varying Adjudications and
17   Impairment to Other Class Members’ Interests: Plaintiff seeks adjudication as to the
18
     interpretation, and resultant scope, of Defendant’s policies, which are common to all members
19
     of the proposed classes. The prosecution of separate actions by individual members of the
20
     classes would risk inconsistent or varying interpretations of those policy terms and create
21

22   inconsistent standards of conduct for Defendant.

23           64.       CR 23(b)(2), Declaratory and Injunctive Relief: Defendant acted or refused to

24   act on grounds generally applicable to Plaintiff and other members of the proposed classes
25   making injunctive relief and declaratory relief appropriate on a classwide basis.
26



     COMPLAINT- 14                                                         KELLER ROHRBACK L.L.P.
                                                                              1201 Third Avenue, Suite 3200
                                                                                 Seattle, W A 98101-3052
                                                                              TELEPHONE: (206) 623-1900
                                                                              FACS IMILE: (206) 623-3384
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 1          65.      CR 23(b)(3), Superiority: A class action is superior to all other available
 2   methods of the fair and efficient adjudication of this lawsuit. While the aggregate damages
 3
     sustained by the classes are likely to be in the millions of dollars, the individual damages
 4
     incurred by each class member may be too small to warrant the expense of individual suits.
 5
     Individual litigation creates a risk of inconsistent and/or contradictory decisions and the court
 6

 7   system would be unduly burdened by individual litigation of such cases. A class action would

 8   result in a unified adjudication, with the benefits of economies of scale and supervision by a

 9   single court.
10
                                      VI.     CAUSES OF ACTION
11
                                   Count One—Declaratory Judgment
12
               (Brought on behalf of the Business Income Declaratory Relief Class, Extended
13     Business Income Declaratory Relief Class, Extra Expense Declaratory Relief Class, Civil
                               Authority Declaratory Relief Class)
14
            66.      Previous paragraphs alleged are incorporated herein.
15

16          67.      This is a cause of action for declaratory judgment pursuant to the Uniform

17   Declaratory Judgments Act, RCW 7.24.010 et seq.
18          68.      Plaintiff brings this cause of action on behalf of the Business Income Declaratory
19
     Relief Class, Extended Business Income Declaratory Relief Class, Extra Expense Declaratory
20
     Relief Class, and Civil Authority Declaratory Relief Class.
21
            69.      Plaintiff seeks a declaratory judgment declaring that Plaintiff’s and Class
22

23   Members’ losses and expenses resulting from the interruption of their business are covered by

24   the Policy issued by Truck to named insureds in the state of Washington covering property

25   situated in Washington.
26



     COMPLAINT- 15                                                       KELLER ROHRBACK L.L.P.
                                                                             1201 Third Avenue, Suite 3200
                                                                                Seattle, W A 98101-3052
                                                                             TELEPHONE: (206) 623-1900
                                                                             FACS IMILE: (206) 623-3384
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 1          70.     Plaintiff seeks a declaratory judgment declaring that Truck is responsible for
 2   timely and fully paying all such claims.
 3
                                    Count Two—Breach of Contract
 4
              (Brought on behalf of the Business Income Breach of Contract Class, Extended
 5    Business Income Breach of Contract Class, Extra Expense Breach of Contract Class, Civil
                               Authority Breach of Contract Class)
 6
            71.     Previous paragraphs alleged are incorporated herein.
 7

 8          72.     Plaintiff brings this cause of action on behalf of the Business Income Breach of

 9   Contract Class, Extended Business Income Breach of Contract Class, Extra Expense Breach of
10   Contract Class, and Civil Authority Breach of Contract Class.
11
            73.     The Policy by Truck is a contract under which Plaintiff and Class Members paid
12
     premiums to Truck in exchange for Truck’s promise to pay Plaintiff and the class for all claims
13
     covered by the Policy.
14

15          74.     Plaintiff has paid its insurance premiums.

16          75.     Truck intends to deny or has denied Plaintiff coverage and has or will continue to

17   deny coverage for other similarly situated members of the proposed class.
18          76.     Denying coverage for the claim is a breach of the insurance contract.
19
            77.     Plaintiff and the Class Members are harmed by the breach of the insurance
20
     contract by Truck.
21
                                    VII.   REQUEST FOR RELIEF
22

23          1.      A declaratory judgment that the policy or policies cover Plaintiff’s losses and

24   expenses resulting from the interruption of Plaintiff’s business related to COVID-19 and/or

25   orders issued by Governor Inslee, other Governors, and/or other authorities.
26



     COMPLAINT- 16                                                      KELLER ROHRBACK L.L.P.
                                                                           1201 Third Avenue, Suite 3200
                                                                              Seattle, W A 98101-3052
                                                                           TELEPHONE: (206) 623-1900
                                                                           FACS IMILE: (206) 623-3384
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 1            2.       A declaratory judgment that the defendant is responsible for timely and fully
 2   paying all such losses.
 3
              3.       Damages.
 4
              4.       Class action status under CR 23.
 5
              5.       Pre- and post-judgment interest at the highest allowable rate.
 6

 7            6.       Attorney fees and costs under Olympic Steamship S.S. Co. v. Centennial Ins. Co.,

 8   117 Wn.2d 37, 52, 811 P.2d 673, 681 (1991), and/or applicable law.

 9            7.       Such further and other relief as the Court shall deem appropriate.
10

11            DATED this 21st day of January, 2021.

12
      StandardSig                                     KELLER ROHRBACK L.L.P.
13

14
                                                      By: s/ Amy Williams-Derry
15                                                    By: s/ Ian S. Birk
16                                                       Amy Williams-Derry, WSBA #28711
                                                         Ian S. Birk, WSBA #31431
17                                                       1201 Third Avenue, Suite 3200
                                                         Seattle, WA 98101
18                                                       Tel.: (206) 623-1900
                                                         Fax: (206) 623-3384
19                                                       Email: awilliams-derry@kellerrohrback.com
20                                                       Email: ibirk@kellerrohrback.com

21
                                                      Attorneys for Plaintiff and the Proposed
22                                                    Classes
23

24

25
     4823-5878-6774, v. 2
26



     COMPLAINT- 17                                                         KELLER ROHRBACK L.L.P.
                                                                              1201 Third Avenue, Suite 3200
                                                                                 Seattle, W A 98101-3052
                                                                              TELEPHONE: (206) 623-1900
                                                                              FACS IMILE: (206) 623-3384
